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5    Attorney for Defendant
     ZHEN SHANG LIN
6
7
                                IN THE UNITED STATES DISTRICT COURT
8
9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA,                    Case No. 2:18-cr-258 MCE
11
                      Plaintiff,                  STIPULATION AND ORDER TO CONTINUE
12                                                STATUS CONFERENCE
              v.
13
      ZHEN SHANG LIN, et al.,                      DATE:          September 30, 2021
14                                                 TIME           10:00 a.m.
                      Defendants.                  JUDGE:         Hon. Morrison C. England, Jr
15
16          IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
17   Attorney through Roger Yang, Assistant United States Attorney, attorney for Plaintiff, and
18   Defendants Heidi Phong, Zhen Shang Lin, Li Juan Wang, and Feng Li, through their
19   undersigned counsel, that the status conference for July 15, 2021 be vacated and a status
20   conference hearing be set on September 30, 2021, at 10:00 a.m.
21          Defendant Li Juan Wang retained and entered an appearance in the case. CR
22   102. Defendant Li Juan Wang was arraigned on June 28, 2021, and the government is in the
23   process of producing voluminous discovery to her counsel. CR 104. The parties have conferred
24   and agree to set a next status conference in this Court on September 30, 2021, at 10:00 a.m. The
25   government has produced voluminous discovery to the defense comprising almost one terabyte
26   of data. The defense needs additional time to review the discovery as well as the dockets in the
27   two related cases.
28           For the purposed of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
      Stipulation and Order                        -1-
      to Continue Status Conference
      Case 2:18-cr-00258-MCE Document 113 Filed 07/07/21 Page 2 of 3



1    seq., within which trial must commence, the time period of July 15, 2021 to September 30, 2021,
2    inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv) [Local Code T4]
3    because it results from a continuance granted by the Court at defendants’ request on the basis of
4    the Court’s finding that the ends of justice served by taking such action outweigh the best interest
5    of the public and the defendants in a speedy trial.
6
7    DATED: June 29, 2021                          Respectfully submitted,
8
                                                   HEATHER E. WILLIAMS
9                                                  Federal Defender

10                                                 /s/ Noa E. Oren
                                                   NOA E. OREN
11                                                 Assistant Federal Defender
                                                   Attorney for ZHEN SHANG LIN
12
                                                   /s/ Daniel Lynch
13                                                 DANIEL LYNCH
14                                                 Attorney for LI JUAN YANG

15                                                 /s/ J. Patrick McCarthy
                                                   J. PATRICK MCCARTHY
16                                                 Attorney for HEIDI PHONG
17                                                 /s/ Daniel Olmos
18                                                 DANIEL OLMOS
                                                   Attorney for FENG LI
19
     DATED: June 29, 2021                          PHILLIP TALBERT
20                                                 Acting United States Attorney
21
                                                   /s/ Roger Yang
22                                                 ROGER YANG
                                                   Assistant United States Attorney
23                                                 Attorney for Plaintiff
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      Stipulation and Order                           -2-
      to Continue Status Conference
      Case 2:18-cr-00258-MCE Document 113 Filed 07/07/21 Page 3 of 3



1                                                  ORDER
2            The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendant in a speedy trial.
8            The Court orders a status conference on September 30, 2021, at 10:00 a.m. The Court
9    orders the time from July 15, 2021 up to and including September 30, 2021, excluded from
10   computation of time within which the trial of this case must commence under the Speedy Trial
11   Act, pursuant to 18 U.S.C. §§3161(h)(7), and Local Code T4.
12           IT IS SO ORDERED.
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14   Dated: July 6, 2021
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      Stipulation and Order                           -3-
      to Continue Status Conference
